         Case 2:23-cv-01495-JHC      Document 333   Filed 11/05/24      Page 1 of 24




 1                                                   THE HONORABLE JOHN H. CHUN

 2

 3

 4

 5

 6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8

 9   FEDERAL TRADE COMMISSION, et al.,              CASE NO.: 2:23-cv-01495-JHC
10                   Plaintiffs,                    PLAINTIFFS’ MOTION TO
                                                    COMPEL PRODUCTION OF
11              v.                                  DOCUMENTS

     AMAZON.COM, INC., a corporation,               NOTE ON MOTION CALENDAR:
12
                     Defendant.                     November 26, 2024
13
                                                    FILED UNDER SEAL
14

15

16

17

18

19

20

21

22

23

24
     PLAINTIFFS’ MOTION TO COMPEL                        FEDERAL TRADE COMMISSION
     PRODUCTION OF DOCUMENTS                                 600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                              Washington, DC 20580
                                                                           (202) 326-2222
              Case 2:23-cv-01495-JHC                        Document 333                Filed 11/05/24              Page 2 of 24




 1                                                      TABLE OF CONTENTS

 2 LEGAL STANDARD ..................................................................................................................... 2
     ARGUMENT .................................................................................................................................. 3
 3
     I.        THE COURT SHOULD ORDER AMAZON TO PRODUCE RELEVANT
 4
               PERSONNEL REVIEW, EVALUATION, AND PROMOTION MATERIALS FROM
 5             ITS CENTRAL REPOSITORY. ........................................................................................ 3
     II.       THE COURT SHOULD ORDER AMAZON TO PRODUCE DOCUMENTS
 6
               REGARDING ITS RESPONSES TO FOREIGN INVESTIGATIONS AND
 7
               REGULATIONS AND COMMUNICATIONS WITH FOREIGN COMPETITION
 8             ENFORCERS. .................................................................................................................... 7
               A.         DOCUMENTS CONCERNING AMAZON’S RESPONSES TO FOREIGN
 9
                          INVESTIGATIONS AND REGULATIONS ......................................................... 8
10
               B.         DOCUMENTS AMAZON PROVIDED TO FOREIGN COMPETITION
11                        ENFORCERS ....................................................................................................... 12
               C.         RELATED SEARCH TERMS ............................................................................. 14
12
     CONCLUSION ............................................................................................................................. 15
13

14

15

16

17

18

19

20

21

22

23

24
       PLAINTIFFS’ MOTION TO COMPEL                                                              FEDERAL TRADE COMMISSION
       PRODUCTION OF DOCUMENTS- i                                                                    600 Pennsylvania Avenue, NW
       No. 2:23-cv-01495                                                                                    Washington, DC 20580
                                                                                                                   (202) 326-2222
              Case 2:23-cv-01495-JHC                    Document 333              Filed 11/05/24            Page 3 of 24




 1                                                TABLE OF AUTHORITIES

 2 Cases

 3 Blankenship v. Hearst Corp.,
         519 F.2d 418 (9th Cir. 1975) .............................................................................................. 3
 4 Doe v. Trump,
           329 F.R.D. 262 (W.D. Wash. 2018) ................................................................................... 3
 5 Epic Games, Inc. v. Apple, Inc.,
           67 F.4th 946 (9th Cir. 2023) ......................................................................................... 9, 12
 6 Epic Games, Inc. v. Apple, Inc.,
           No. 20-cv-05640 (N.D. Cal. July 19, 2024), Dkt. #1008.................................................. 11
 7
   Floyd v. Amazon,
           No. 22-cv-01599 (W.D. Wash. Sept. 9, 2024), Dkt. #138 ................................................ 13
 8
   Frame-Wilson v. Amazon.com, Inc.,
 9         2023 WL 4201679 (W.D. Wash. June 27, 2023)........................................................ 1, 3, 7
   Garner v. Amazon.com, Inc.,
10         2023 WL 6038011 (W.D. Wash. Sept. 15, 2023) ........................................................... 1, 2
   In re Apple iPhone Antitrust Litig.,
11         No. 4:11-cv-06714 (N.D. Cal. Aug. 19, 2024), Dkt. #919 ........................................... 8, 11
   In re Exactech Polyethylene Orthopedic Prod. Liab. Litig.,
12         2024 WL 4381076 (E.D.N.Y. Oct. 3, 2024) ..................................................................... 13
   In re Google Play Store Antitrust Litigation,
13         21-md-02981 (N.D. Cal. April 11, 2024), Dkt. #952-1 .................................................... 11
14 In re Plastics Additives Antitrust Litig.,
           2004 WL 2743591 (E.D. Pa. Nov. 29, 2004) ............................................................... 8, 13
15 Moya v. City of Clovis,
           2019 WL 4193427 (D.N.M. Sept. 3, 2019) ........................................................................ 6
16 Sali v. Corona Reg’l Med. Ctr.,
           884 F.3d 1218 (9th Cir. 2018) ............................................................................................ 2
17 Smith v. Legacy Partners Inc.,
           2022 WL 1194125 (W.D. Wash. Apr. 21, 2022) ................................................................ 2
18 Soto v. City of Concord,
           162 F.R.D. 603 (N.D. Cal. 1995) ........................................................................................ 2
19
   United States ex rel. Krahling v. Merck & Co.,
           2016 WL 7042203 (E.D. Pa. Feb. 5, 2016) ........................................................................ 4
20
   United States v. Google LLC,
           No. 20-cv-03010 (D.D.C. June 29, 2021), Dkt. #151 ..................................................... 4, 6
21
   United States v. Google LLC,
22         No. 20-cv-03010 (D.D.C. Aug. 27, 2021), Dkt. #189 ........................................................ 4
   United States v. Microsoft Corp.,
23         253 F.3d 34 (D.C. Cir. 2001) (en banc) ............................................................................ 10

24
       PLAINTIFFS’ MOTION TO COMPEL                                                       FEDERAL TRADE COMMISSION
       PRODUCTION OF DOCUMENTS- ii                                                            600 Pennsylvania Avenue, NW
       No. 2:23-cv-01495                                                                             Washington, DC 20580
                                                                                                            (202) 326-2222
              Case 2:23-cv-01495-JHC                      Document 333               Filed 11/05/24             Page 4 of 24




 1 Whitman v. State Farm Life Ins. Co.,
          2020 WL 5526684 (W.D. Wash. Sept. 15, 2020) ............................................................... 3
 2 Rules
   Fed. R. Civ. P. 26(b) ....................................................................................................... 1, 2, 12, 14
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
       PLAINTIFFS’ MOTION TO COMPEL                                                           FEDERAL TRADE COMMISSION
       PRODUCTION OF DOCUMENTS- iii                                                               600 Pennsylvania Avenue, NW
       No. 2:23-cv-01495                                                                                 Washington, DC 20580
                                                                                                                (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 333       Filed 11/05/24      Page 5 of 24




 1          Plaintiffs “may obtain discovery regarding any nonprivileged matter that is relevant to

 2 any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).

 3 This is a major government antitrust enforcement action involving allegations of long-running

 4 anticompetitive conduct by Amazon—one of the largest companies in the world. Yet Amazon

 5 refuses to produce key documents relating to custodians’ personnel reviews, documents

 6 regarding remedial measures Amazon has taken in response to similar challenges by foreign

 7 competition enforcers, or even materials exchanged with those enforcers. Amazon has already

 8 been cautioned by a court in this District for taking an “unreasonably narrow view of what [is]

 9 relevant” and for failing, in responding to discovery requests, to “accurately capture the scope of

10 plaintiffs’ claims or the breadth of this litigation.” Garner v. Amazon.com, Inc., 2023 WL

11 6038011, at *3-4 (W.D. Wash. Sept. 15, 2023). Amazon should not be permitted to do the same

12 here.

13          Amazon has not shown, and cannot show, that any of the discovery requests at issue in

14 this motion are unduly burdensome. See Fed. R. Civ. P. 26(b)(1). Amazon’s anticompetitive

15 conduct affects tens of millions of American households, hundreds of thousands of sellers on

16 Amazon, and hundreds of billions of dollars in commerce every year. Judge Martinez recognized

17 that the related Frame-Wilson action “is a significant, substantial case,” and that discovery

18 should be commensurate with the importance of the case. Frame-Wilson v. Amazon.com, Inc.,

19 2023 WL 4201679, at *4 (W.D. Wash. June 27, 2023). Those considerations are even stronger

20 here, in a government enforcement action challenging a broader range of Amazon’s

21 anticompetitive conduct. Amazon is one of the largest and most technically sophisticated

22 companies in the world. Any incremental discovery burden on Amazon associated with the

23

24
      PLAINTIFFS’ MOTION TO COMPEL                                   FEDERAL TRADE COMMISSION
      PRODUCTION OF DOCUMENTS- 1                                         600 Pennsylvania Avenue, NW
      No. 2:23-cv-01495                                                         Washington, DC 20580
                                                                                       (202) 326-2222
             Case 2:23-cv-01495-JHC        Document 333        Filed 11/05/24      Page 6 of 24




 1 disputes presented in this motion is proportional to the needs of the case. To quote Amazon

 2 itself: “We are big, we impact the world.” 1 Discovery must scale accordingly.
                                               0F




 3                                         LEGAL STANDARD

 4            The scope of discovery under Rule 26(b) is “extremely broad.” Soto v. City of Concord,

 5 162 F.R.D. 603, 610 (N.D. Cal. 1995); see also Garner, 2023 WL 6038011, at *1 (“Relevance

 6 under Rule 26(b)(1) is defined broadly and remains so even after the 2015 amendments of the

 7 Federal Rules of Civil Procedure.”). The parties may obtain discovery of “any nonprivileged

 8 matter that is relevant to any party’s claim or defense and proportional to the needs of the case.”

 9 Fed. R. Civ. P. 26(b)(1). As courts in this District and Circuit have emphasized, relevance

10 “should be ‘construed liberally and with common sense, and discovery should be allowed unless

11 the information sought has no conceivable bearing on the case.’” Smith v. Legacy Partners Inc.,

12 2022 WL 1194125, at *4 (W.D. Wash. Apr. 21, 2022) (quoting Soto, 162 F.R.D. at 610)).

13            When addressing burden or proportionality objections, Federal Rule of Civil Procedure

14 26(b)(1) directs courts to consider “whether the burden or expense of the proposed discovery

15 outweighs its likely benefit,” taking into consideration “the importance of the issues at stake in

16 the action, the amount in controversy, the parties’ relative access to relevant information, the

17 parties’ resources, [and] the importance of the discovery in resolving the issues.”

18            When a party fails to produce requested documents or other materials, “Federal Rule of

19 Civil Procedure 37 allows a party to move for an order compelling disclosures or discovery.”

20 Sali v. Corona Reg’l Med. Ctr., 884 F.3d 1218, 1219 (9th Cir. 2018). Once the moving party has

21 made a minimal showing of relevance, the party opposing discovery “has the burden to show that

22

23
     1
    Amazon Leadership Principles, Amazon.com, Inc., https://www.aboutamazon.com/about-
24 us/leadership-principles (last visited Nov. 4, 2024).
         PLAINTIFFS’ MOTION TO COMPEL                                FEDERAL TRADE COMMISSION
         PRODUCTION OF DOCUMENTS- 2                                      600 Pennsylvania Avenue, NW
         No. 2:23-cv-01495                                                      Washington, DC 20580
                                                                                       (202) 326-2222
             Case 2:23-cv-01495-JHC          Document 333           Filed 11/05/24     Page 7 of 24




 1 discovery should not be allowed, and has the burden of clarifying, explaining, and supporting its

 2 objections with competent evidence.” Doe v. Trump, 329 F.R.D. 262, 270 (W.D. Wash. 2018)

 3 (internal citations and quotations omitted); see also Whitman v. State Farm Life Ins. Co., 2020

 4 WL 5526684, at *2 (W.D. Wash. Sept. 15, 2020) (“The Ninth Circuit has held that there are

 5 ‘liberal discovery principles’ under the Federal Rules and that the party resisting discovery thus

 6 carries a ‘heavy burden of showing’ why a request for discovery should be denied.” (quoting

 7 Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975))); Frame-Wilson, 2023 WL

 8 4201679, at *2, *4.

 9                                               ARGUMENT

10 I.          THE COURT SHOULD ORDER AMAZON TO PRODUCE RELEVANT
               PERSONNEL REVIEW, EVALUATION, AND PROMOTION MATERIALS
11             FROM ITS CENTRAL REPOSITORY.

12             Plaintiffs’ RFP No. 32 seeks “[a]ll Documents relating to personnel reviews, evaluations,

13 and promotion materials (whether in draft or final form) concerning individuals with

14 responsibilities relating to the conduct described in the Complaint,” including individuals in

15 specified business groups. Baker Decl., Ex. A at 11-12. 2 Amazon has committed to “produce any
                                                               1F




16 personnel review found in custodial files that hit on Plaintiffs’ search terms and [is] deemed

17 responsive for their substantive requests,” Dkt. #273 at 38, Joint Status Report at 38 (Aug. 28,

18 2024) (“August 28, 2024 JSR”), but has refused to produce documents held in

19                                                                   Ex. B at 3; Ex. C at 2; Ex. D at 1, 4

20 (

21                       ). Plaintiffs have proposed that Amazon “collect and produce personnel

22 reviews, evaluations, and promotion materials from its centralized repository for all document

23
     2
         Citations to “Ex.__” refer to exhibits attached to the Declaration of Michael Baker (Dkt. #332).
24
         PLAINTIFFS’ MOTION TO COMPEL                                    FEDERAL TRADE COMMISSION
         PRODUCTION OF DOCUMENTS- 3                                          600 Pennsylvania Avenue, NW
         No. 2:23-cv-01495                                                          Washington, DC 20580
                                                                                           (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 333        Filed 11/05/24      Page 8 of 24




 1 custodians agreed upon by the parties or ordered by the Court.” August 28, 2024 JSR at 23.

 2 Amazon has refused to do so, on the grounds that materials sought by this request “are not

 3 themselves relevant to any allegation in Plaintiffs’ Complaint” and the request is unduly

 4 burdensome. Ex. C at 2.

 5          The personnel reviews, evaluations, and promotion materials Plaintiffs seek will provide

 6 important information regarding Amazon’s competitive strategies and business goals, and shed

 7 light on the responsibilities, knowledge, and credibility of the Amazon employees closest to the

 8 conduct at issue in this case. Such information is central to any antitrust case; accordingly,

 9 performance evaluations are commonly produced and used in antitrust litigation. See, e.g., Joint

10 Status Report at 7-8, United States v. Google LLC, No. 20-cv-03010 (D.D.C. Aug. 27, 2021),

11 Dkt. #189 (citing United States v. Am. Express Co., No. 10-cv-4496 (E.D.N.Y. 2014), United

12 States v. Aetna Inc., No. 16-cv-1494 (D.D.C. 2016), and United States v. Sabre Corp., No. 19-

13 cv-1548 (D. Del. 2020)); see also Hr’g Tr. at 29:8-23, United States v. Google LLC, No. 20-cv-

14 03010 (D.D.C. June 29, 2021), Dkt. #151 (recognizing that performance evaluations are

15 “unique” materials that provide “an interesting insight and window into the thinking of the

16 assessor in terms of reflecting on the work that they’ve done and how they think that benefited

17 the company”); id. at 32:18-24 (ordering production for deposition witnesses); United States ex

18 rel. Krahling v. Merck & Co., 2016 WL 7042203, at *3 (E.D. Pa. Feb. 5, 2016) (noting

19 performance reviews were relevant to assess the credibility of witnesses’ testimony).

20          Amazon’s argument that personnel materials are not relevant to this case is contradicted

21 by the limited personnel materials Amazon produced in Plaintiffs’ pre-Complaint investigation.

22 For example, a request to promote

23                                                                                described

24
     PLAINTIFFS’ MOTION TO COMPEL                                     FEDERAL TRADE COMMISSION
     PRODUCTION OF DOCUMENTS- 4                                           600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                           Washington, DC 20580
                                                                                        (202) 326-2222
           Case 2:23-cv-01495-JHC           Document 333          Filed 11/05/24     Page 9 of 24




 1

 2

 3                                                         Ex. E, Amazon-FTC-CID_07679127

 4 at -127, -130. Those efforts, and Amazon’s intent to “                                       ” are

 5 relevant to Plaintiffs’ allegations that Amazon has profitably degraded the quality of its search

 6 results by cluttering organic search results with expensive, irrelevant advertisements. See SAC

 7 ¶¶ 231-42 (Dkt. #327). In another example, a promotion memo for

 8                        highlights that

 9                          —all of which are relevant to Amazon’s ability to profitably hike seller

10 fees without losing meaningful business, see SAC ¶¶ 251-58 (Dkt. #327)—and notes that

11 “

12                                                                                 ” Ex. F, Amazon-FTC-

13 CID_02265294 at -296. And a promotion request for

14                         identified him as “

15

16

17        ” Ex. G, Amazon-FTC-CID_01916541 at -550-51. As the promotion document explains,

18 the

19                id. at -542; accordingly, materials assessing                      work are squarely

20 relevant to Plaintiffs’ anti-discounting allegations. See, e.g., SAC ¶ 265 (Dkt. #327). All three

21 individuals are agreed-upon custodians.

22          Amazon has argued that a non-custodial collection in response to RFP No. 32 is

23 unnecessary because relevant personnel reviews will be produced if they are captured by

24
      PLAINTIFFS’ MOTION TO COMPEL                                     FEDERAL TRADE COMMISSION
      PRODUCTION OF DOCUMENTS- 5                                           600 Pennsylvania Avenue, NW
      No. 2:23-cv-01495                                                           Washington, DC 20580
                                                                                         (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 333        Filed 11/05/24      Page 10 of 24




 1 Amazon’s search and review of custodial documents. See August 28, 2024 JSR at 39. This

 2 approach fails to address Amazon’s admission that custodians generally do not have access to

 3 their own personnel review, evaluation, and promotion materials. See id. at 22. Amazon also has

 4 not retained emails and other documents for all custodians. See, e.g., Ex. H. A collection from

 5 Amazon’s centralized repository is thus necessary to ensure that personnel materials for

 6 custodians—including custodians who may be deponents and trial witnesses—are produced.

 7          The burden associated with producing these documents is minimal. Amazon has made no

 8 showing and offered no specific arguments that the burden of producing personnel review,

 9 evaluation, and promotion materials for the carefully negotiated set of custodians outweighs their

10 clear relevance to the case. Nor can it. Any burden associated with producing documents in

11 response to this request is minimal given that there is a centralized repository housing these

12 materials. See Hr’g Tr. at 28:9-29:6, 30:21-31:1, United States v. Google LLC, No. 20-cv-03010

13 (D.D.C. June 29, 2021), Dkt. #151 (court noting that, where personnel materials are stored in a

14 central repository, “the burden of obtaining them is relatively modest”). And producing these

15 materials will economize discovery by allowing Plaintiffs to efficiently target and prioritize

16 custodians for depositions.

17          Amazon’s concerns about the “sensitivity” of these files are not a basis to limit discovery.

18 See August 28, 2024 JSR at 39. Amazon has not claimed or shown that the documents housed in

19 its central repository are more sensitive than the personnel documents it has agreed to produce

20 from custodial files. Moreover, any confidentiality concerns are fully addressed by the Protective

21 Order. See Protective Order ¶ 4.1 (Dkt. #160); see also Moya v. City of Clovis, 2019 WL

22 4193427, at *3 (D.N.M. Sept. 3, 2019) (recognizing the appropriate remedy to protect sensitive

23 information in personnel files is a protective order).

24
      PLAINTIFFS’ MOTION TO COMPEL                                   FEDERAL TRADE COMMISSION
      PRODUCTION OF DOCUMENTS- 6                                         600 Pennsylvania Avenue, NW
      No. 2:23-cv-01495                                                         Washington, DC 20580
                                                                                       (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 333         Filed 11/05/24      Page 11 of 24




 1 II.      THE COURT SHOULD ORDER AMAZON TO PRODUCE DOCUMENTS
            REGARDING ITS RESPONSES TO FOREIGN INVESTIGATIONS AND
 2          REGULATIONS AND COMMUNICATIONS WITH FOREIGN COMPETITION
            ENFORCERS.
 3
            Through three related RFPs, Plaintiffs have requested documents relating to (1) Amazon
 4
     actions in response to related competition investigations in foreign jurisdictions; (2) Amazon
 5
     actions in response to three competition regulations in specific foreign jurisdictions; and (3)
 6
     communications with foreign competition enforcers. These requests are designed to enable
 7
     comparisons that may illuminate the purpose and effect of Amazon’s conduct in the United
 8
     States. Amazon’s responses to related investigations or competition regulations in foreign
 9
     jurisdictions may, for example, shed light on the validity of Amazon’s asserted procompetitive
10
     justifications in the United States. Similarly, remedial actions Amazon has taken or evaluated in
11
     foreign markets may inform whether less restrictive alternatives are available here. Finally,
12
     while this case is broader than any foreign competition investigation Plaintiffs are aware of,
13
     remedies imposed or agreed to in other jurisdictions may provide information relevant to
14
     potential remedies here.
15
             Amazon has refused to provide this relevant information, even though the company can
16
     produce these documents with minimal burden: Plaintiffs are not seeking any additional
17
     custodians in connection with these requests and are only requesting a limited set of additional
18
     search terms.
19
            Courts generally permit discovery into foreign practices and production of materials
20
     shared with foreign enforcers, particularly in the antirust context, where foreign conduct provides
21
     points of comparison for anticompetitive conduct in the United States. See, e.g., Frame-Wilson,
22
     2023 WL 4201679, at *3 (finding production of foreign data permissible for “comparative
23
     analyses”); Order at 4-6, In re Apple iPhone Antitrust Litig., No. 4:11-cv-06714 (N.D. Cal. Aug.
24
      PLAINTIFFS’ MOTION TO COMPEL                                    FEDERAL TRADE COMMISSION
      PRODUCTION OF DOCUMENTS- 7                                          600 Pennsylvania Avenue, NW
      No. 2:23-cv-01495                                                          Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC          Document 333         Filed 11/05/24      Page 12 of 24




 1 19, 2024), Dkt. #919 (ordering production of Apple’s foreign regulatory responses as relevant to

 2 purported pro-competitive justifications). Further, documents produced to foreign enforcers are

 3 routinely produced by defendants in antitrust matters. See, e.g., In re Plastics Additives Antitrust

 4 Litig., 2004 WL 2743591, at *13-14 (E.D. Pa. Nov. 29, 2004) (ordering production of documents

 5 “produced to foreign investigatory authorities”).

 6          A.     Documents Concerning Amazon’s Responses to Foreign Investigations and
                   Regulations
 7
             Plaintiffs’ RFP Nos. 376 and 377 call for documents relating to “Amazon’s actions . . .
 8
     undertaken or considered as the result of any investigation or inquiry by any government
 9
     competition enforcer in any country or jurisdiction” (RFP No. 376), or actions “undertaken or
10
     considered as the result of requirements consistent with [Amazon’s] designation under any
11
     regulatory scheme . . . as a gatekeeper, platform with strategic market status, or similar
12
     designation” (RFP No. 377). Ex. I at 49-52. Plaintiffs have narrowed the latter request to the
13
     European Union’s Digital Markets Act; the United Kingdom’s Digital Markets, Competition,
14
     and Consumers Bill; and Section 19(e) of Germany’s Competition Act. Ex. J at 17. Plaintiffs
15
     offered to consider narrowing RFP No. 376 to address Amazon’s expressed concern that not
16
     every antitrust investigation into Amazon’s conduct might be relevant, and asked Amazon to
17
     provide a list of investigations in other jurisdictions to further discussions. Id. Amazon refused
18
     to provide that information. Ex. K at 13.
19

20

21

22

23

24
     PLAINTIFFS’ MOTION TO COMPEL                                     FEDERAL TRADE COMMISSION
     PRODUCTION OF DOCUMENTS- 8                                           600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                           Washington, DC 20580
                                                                                        (202) 326-2222
             Case 2:23-cv-01495-JHC            Document 333      Filed 11/05/24      Page 13 of 24




 1             Plaintiffs are aware of public investigations in at least the European Union, 3 United
                                                                                            2F




 2 Kingdom, 4 Germany, 5 and Japan, 6 among others, that involve conduct similar to the conduct at
                  3F         4F           5F




 3 issue in this case. Authorities in the European Union and the United Kingdom investigated

 4 Amazon’s selection of sellers eligible for the Buy Box, which is part of the Amazon anti-

 5 discounting conduct Plaintiffs challenge here. See SAC ¶¶ 271-287 (Dkt. #326). Authorities in

 6 Germany and Japan investigated Amazon’s use of contractual price parity terms. Amazon

 7 engaged in the same practice in the United States, id. ¶ 274, and continues to use SC-FOD to

 8 enforce the same “expectations and policies,” id. ¶¶ 276-278. There may be other related non-

 9 public investigations that are known to Amazon but not Plaintiffs.

10              Documents showing how Amazon changed its conduct, or considered changing its

11       conduct, in response to foreign competition investigations or laws bear on two key aspects of an

12       antitrust case: (1) whether Amazon’s purported “procompetitive efficiencies could be

13       reasonably achieved through less anticompetitive means,” Epic Games, Inc. v. Apple, Inc., 67

14       F.4th 946, 990 (9th Cir. 2023) (explaining rule of reason framework); see also United States v.

15

16   3
       European Commission, CASE AT.40462 - Amazon Marketplace and AT.40703 – Amazon Buy
     Box 5 (2022),
17   https://ec.europa.eu/competition/antitrust/cases1/202310/AT_40703_8990760_1533_5.pdf
     (investigation and decision regarding “the conditions and criteria that govern the selection of the
18   offer that features in the ‘Buy Box’”).
     4
       Competition & Markets Authority, Decision to accept binding commitments under the
     Competition Act 1998 from Amazon in relation to conduct on its UK online marketplace 10
19   (2023), https://assets.publishing.service.gov.uk/media/6544cbaed36c91000d935d20/Non-
     confidential_decision_pdfa_4.pdf (investigating Amazon’s criteria for selecting Featured Offers
20   in the Buy Box).
     5
       Bundeskartellamt, Case Report: Amazon removes price parity obligation for retailers on its
21   Marketplace platform (2013),
     https://www.bundeskartellamt.de/SharedDocs/Entscheidung/EN/Fallberichte/Kartellverbot/2013/
22   B6-46-12.pdf?__blob=publicationFile&v=2 (investigating Amazon’s price parity agreement).
     6
       Japan Fair Trade Commission, Closing the Investigation on the Suspected Violation of the
     Antimonopoly Act by Amazon Japan G.K.at ¶ 6(iv) (2017),
23   https://www.jftc.go.jp/en/pressreleases/yearly-2017/June/170601_files/170601-2.pdf (Amazon
     proposed voluntary measures to address concerns regarding Amazon’s price parity clauses).
24
         PLAINTIFFS’ MOTION TO COMPEL                                    FEDERAL TRADE COMMISSION
         PRODUCTION OF DOCUMENTS- 9                                          600 Pennsylvania Avenue, NW
         No. 2:23-cv-01495                                                          Washington, DC 20580
                                                                                           (202) 326-2222
              Case 2:23-cv-01495-JHC               Document 333     Filed 11/05/24     Page 14 of 24




 1       Microsoft Corp., 253 F.3d 34, 58-59 (D.C. Cir. 2001) (en banc); and (2) whether these changes

 2       were effective at remedying the anticompetitive effects of Amazon’s conduct.

 3              For example, public sources indicate that Amazon proposed voluntary measures to

 4       address concerns raised by the Japan Fair Trade Commission (JFTC) about the anticompetitive

 5       effects of Amazon’s price parity clauses. See supra note 6 at ¶¶ 5–6. Amazon has also begun

 6       implementing commitments it made to the European Commission under the supervision of a

 7       trustee appointed in February 2023. 7 Documents showing what those voluntary measures were,
                                              6F




 8       how Amazon implemented them, and their effects, if any—as detailed in the annual report

 9       Amazon was ordered to file as part of its agreement to close the JFTC’s investigation, id. at

10       ¶ 6(iv), among other sources—may contain information relevant to potential alternatives to the

11       policies and practices Plaintiffs are challenging in this case.

12              The limited materials related to foreign competition proceedings that Amazon has

13       produced to date further indicate that Amazon has changed some of its conduct in response to

14       foreign competition investigations. For example,

15

16                                                    See Ex. L, AMZN-RTL-FTC-02635813 at -816.

17

18

19                                                                             Id. Approximately five

20       months later, the European Commission resolved its investigation into Amazon’s

21       anticompetitive conduct

22
     7
      Amazon’s Commitments to the European Commission, ALCIS, https://www.alcis-
23
     advisers.com/#amazons-commitments-to-the-european-commission (last visited Nov. 5, 2024).
24
         PLAINTIFFS’ MOTION TO COMPEL                                      FEDERAL TRADE COMMISSION
         PRODUCTION OF DOCUMENTS- 10                                           600 Pennsylvania Avenue, NW
         No. 2:23-cv-01495                                                            Washington, DC 20580
                                                                                             (202) 326-2222
         Case 2:23-cv-01495-JHC            Document 333        Filed 11/05/24      Page 15 of 24




 1                                             See supra note 3 at 43–45; see also Ex. M, Amazon-

 2   FTC-CID_04140046 at -056 (

 3

 4                                    ).

 5          The relevance of a defendant’s foreign conduct has been recognized in several recent

 6   antitrust cases. In Epic Games, Inc. v. Apple, Inc., the court ordered discovery into Apple’s

 7   reactions to investigations and regulations in foreign jurisdictions to understand its response to a

 8   potential injunction in the United States. See Discovery Order re Dkt. Nos. 1000, 1002, 1003,

 9   No. 20-cv-05640 (N.D. Cal. July 19, 2024), Dkt. #1008 at 2. In In re Google Play Store

10   Antitrust Litigation, Plaintiffs’ expert cited Google’s alleged evasion of Korean law as a reason

11   why specific remedies were needed to avoid similar evasion in the United States. See Statement

12   of B. Douglas Bernheim at 2 n.6, 21-md-02981 (N.D. Cal. April 11, 2024), Dkt. #952-1. And in

13   In re Apple iPhone Antitrust Litigation, the court agreed that materials related to “Apple’s

14   responses to the European Union’s Digital Markets Act” were relevant because they “may show

15   that Apple’s pro-competitive justifications . . . are not as important as Apple says they are.”

16   Order at 4-6 (N.D. Cal. Aug. 19, 2024), Dkt. #919. Here, similarly, discovery into Amazon’s

17   responses to foreign investigations and competition regulations will provide relevant

18   information.

19          Plaintiffs are not seeking any additional custodians in connection with these requests.

20   Plaintiffs are requesting only that Amazon be ordered to produce any responsive documents

21   held in centralized locations, and any responsive documents captured by Amazon’s search of

22   custodial documents for agreed-upon custodians. Plaintiffs have proposed a targeted set of

23

24
     PLAINTIFFS’ MOTION TO COMPEL                                     FEDERAL TRADE COMMISSION
     PRODUCTION OF DOCUMENTS- 11                                          600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                           Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC           Document 333        Filed 11/05/24      Page 16 of 24




 1   additional search terms to capture materials responsive to RFP Nos. 376 and 377. See infra

 2   Section III.C.

 3          Amazon has not made any specific showing of burden associated with these RFPs and

 4 cannot show that the “burden or expense of the proposed discovery outweighs its likely benefit,”

 5 Fed. R. Civ. P. 26(b)(1). While Plaintiffs have attempted to engage with Amazon to navigate any

 6 burden, Amazon has wholesale refused to engage. Ex. K at 12-13. Plaintiffs accordingly request

 7 that the Court order Amazon to search for and produce documents in response to RFP Nos. 376

 8 and 377.

 9          B.        Documents Amazon Provided to Foreign Competition Enforcers

10          Plaintiffs’ RFP No. 387 calls for materials “received from and provided to any

11 government competition enforcer in any country or jurisdiction in connection with an antitrust or

12 competition-related investigation or inquiry.” Ex. I at 62. As with RFP No. 376, Plaintiffs

13 offered to narrow the scope of this request if Amazon would provide a list of antitrust

14 investigations for Plaintiffs’ review; Amazon refused to do so. Ex. K at 12-13.

15          As discussed supra, any documents Amazon sent to foreign competition enforcers in

16 connection with investigations into conduct that is similar or related to the conduct challenged in

17 this case are likely to contain information that is relevant to this case, including information

18 about Amazon’s operations and business decisions and potential changes to or alternatives to

19 Amazon’s conduct—all of which would be relevant at least to whether Amazon’s purported

20 “procompetitive efficiencies could be reasonably achieved through less anticompetitive means.”

21 See Epic, 67 F.4th at 990. Documents Amazon received from those enforcers will provide

22 necessary context for Amazon’s responses.

23          Communications and documents shared with government enforcers are regularly

24 produced in discovery, particularly in antitrust cases. Such discovery occurs often as “defendants
      PLAINTIFFS’ MOTION TO COMPEL                                    FEDERAL TRADE COMMISSION
      PRODUCTION OF DOCUMENTS- 12                                         600 Pennsylvania Avenue, NW
      No. 2:23-cv-01495                                                          Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC            Document 333         Filed 11/05/24      Page 17 of 24




 1 in antitrust litigation regularly agree through joint discovery schedules to produce documents

 2 submitted to . . . investigatory authorities concerning the basis for the antitrust civil suit.” In re

 3 Plastics Additives Antitrust Litig., 2004 WL 2743591, at *12. Where the allegations at issue in a

 4 case overlap with a government investigation, the burden to produce documents is often low and

 5 proportionality weighs in favor of production, as these materials already exist and often are

 6 easily collectible. See id. (finding “minimum burden” associated with the production of

 7 documents provided to government enforcers). The relevance of documents submitted to

 8 government enforcers does not change solely because the materials were provided to a foreign

 9 enforcer. See In re Exactech Polyethylene Orthopedic Prod. Liab. Litig., 2024 WL 4381076, at

10 *5 (E.D.N.Y. Oct. 3, 2024) (“Courts generally permit discovery of documents and

11 communications from foreign agencies when the requests are narrowed to specific countries,

12 regulatory agencies, or subject areas.”).

13          Floyd v. Amazon is not to the contrary. There, the court rejected the plaintiffs’ request for

14 documents submitted to Italian and Spanish competition regulators as speculative, because it

15 found that the plaintiffs did not articulate a clear use for the documents. See Floyd v. Amazon,

16 No. 22-cv-01599 (W.D. Wash. Sept. 9, 2024), Dkt. #138 at 6. The plaintiffs argued that these

17 materials were helpful to compare the positions Amazon had taken in “analogous proceedings”

18 but did not show that the investigations were “meaningfully analogous” to their case. Id. By

19 contrast, Plaintiffs here have shown that certain investigations they are aware of involve some of

20 the same conduct Plaintiffs allege is anticompetitive, and have identified concrete areas of

21 overlap for each investigation, along with the relevance of these overlaps to this case. See supra

22 notes 3–6. Moreover, the scope of these investigations is not necessarily limited to the foreign

23 jurisdictions in question; in some cases, foreign competition enforcers

24
      PLAINTIFFS’ MOTION TO COMPEL                                      FEDERAL TRADE COMMISSION
      PRODUCTION OF DOCUMENTS- 13                                           600 Pennsylvania Avenue, NW
      No. 2:23-cv-01495                                                            Washington, DC 20580
                                                                                          (202) 326-2222
           Case 2:23-cv-01495-JHC          Document 333         Filed 11/05/24     Page 18 of 24




 1                                                     . See Ex. N, AMAZON-FTC_00016721 at -726

 2 (

 3

 4                                  ); id. at -727 (

 5

 6                   ). Plaintiffs should be allowed to obtain information Amazon has provided to

 7 other enforcers about conduct related to or similar to the conduct at issue in this case, and

 8 certainly should be allowed to see what representations Amazon has made about its conduct and

 9 operations in the United States.

10          Plaintiffs are not seeking any additional custodians or search terms for this request.

11 Plaintiffs are requesting only that Amazon be ordered to produce any responsive documents held

12 in centralized locations, and any responsive documents otherwise captured by Amazon’s search

13 of custodial documents.

14          Amazon has not made any specific showing of burden associated with this RFP and

15 cannot show that the “burden or expense of the proposed discovery outweighs its likely benefit.”

16 Fed. R. Civ. P. 26(b)(1). Plaintiffs accordingly request that the Court order Amazon to search for

17 and produce documents in response to RFP No. 387.

18          C.      Related Search Terms

19          In connection with RFP Nos. 376 and 377, the Court should order Amazon to run a

20 narrow set of additional search terms designed to capture the names of foreign competition

21 enforcers and regulations. See Appx. A (listing search terms and Amazon’s most recent hit

22 counts provided for those terms); Ex O. Amazon has refused to provide Plaintiffs with

23 information about foreign investigations that would allow Plaintiffs to narrow these search

24
       PLAINTIFFS’ MOTION TO COMPEL                                   FEDERAL TRADE COMMISSION
       PRODUCTION OF DOCUMENTS- 14                                        600 Pennsylvania Avenue, NW
       No. 2:23-cv-01495                                                         Washington, DC 20580
                                                                                        (202) 326-2222
          Case 2:23-cv-01495-JHC         Document 333       Filed 11/05/24       Page 19 of 24




 1 terms—such as, for instance, a list of foreign investigations into Amazon’s conduct or case

 2 numbers. Amazon has also not made any counterproposals regarding search terms. Plaintiffs

 3 accordingly request that the Court order Amazon to run the search terms Plaintiffs have

 4 proposed.

 5                                          CONCLUSION

 6         For the reasons above, the Court should grant Plaintiffs’ motion and order Amazon to (1)

 7 produce documents responsive to RFP No. 32; (2) produce documents responsive to RFP Nos.

 8 376, 377, and 387; and (3) run the search terms identified in Appendix A.

 9

10 Dated: November 5, 2024                      I certify that this brief contains 4,196 words, in
                                                compliance with the Local Civil Rules
11
                                                Respectfully submitted,
12
                                                s/Michael Baker
                                                SUSAN A. MUSSER (DC Bar # 1531486)
13                                              EDWARD H. TAKASHIMA (DC Bar # 1001641)
                                                MICHAEL BAKER (DC Bar # 1044327)
14                                              AMANDA L. BUTLER (IL Bar # 6299218)
                                                J. WELLS HARRELL (DC Bar # 995368)
15                                              COLIN M. HERD (NY Reg. # 5665740)
                                                BAHADUR S. KHAN (NY Reg. # 5370705)
                                                SHIRA STEINBERG (NY Reg. # 5695580)
16
                                                Federal Trade Commission
17                                              600 Pennsylvania Avenue, NW
                                                Washington, DC 20580
18                                              Tel.: (202) 326-2122 (Musser)
                                                       (202) 326-2464 (Takashima)
                                                Email: smusser@ftc.gov
19                                                     etakashima@ftc.gov
                                                       mbaker1@ftc.gov
20                                                     abutler2@ftc.gov
                                                       jharrell@ftc.gov
21                                                     cherd@ftc.gov
                                                       bkhan1@ftc.gov
22                                                     ssteinberg1@ftc.gov

                                                Attorneys for Plaintiff Federal Trade Commission
23

24
     PLAINTIFFS’ MOTION TO COMPEL                                   FEDERAL TRADE COMMISSION
     PRODUCTION OF DOCUMENTS- 15                                        600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                         Washington, DC 20580
                                                                                      (202) 326-2222
         Case 2:23-cv-01495-JHC        Document 333      Filed 11/05/24     Page 20 of 24




 1 s/ Michael Jo                                   s/ Timothy D. Smith
   Michael Jo (admitted pro hac vice)              Timothy D. Smith, WSBA No. 44583
 2 Assistant Attorney General, Antitrust Bureau    Senior Assistant Attorney General
   New York State Office of the Attorney           Antitrust and False Claims Unit
 3 General                                         Oregon Department of Justice
   28 Liberty Street                               100 SW Market St
 4 New York, NY 10005                              Portland, OR 97201
   Telephone: (212) 416-6537                       Telephone: (503) 934-4400
 5 Email: Michael.Jo@ag.ny.gov                     Email: tim.smith@doj.state.or.us
   Counsel for Plaintiff State of New York         Counsel for Plaintiff State of Oregon
 6
   s/ Rahul A. Darwar                              s/ Jennifer A. Thomson
 7 Rahul A. Darwar (admitted pro hac vice)         Jennifer A. Thomson (admitted pro hac vice)
   Assistant Attorney General                      Senior Deputy Attorney General
 8 Office of the Attorney General of Connecticut   Pennsylvania Office of Attorney General
   165 Capitol Avenue                              Strawberry Square, 14th Floor
 9 Hartford, CT 06016                              Harrisburg, PA 17120
   Telephone: (860) 808-5030                       Telephone: (717) 787-4530
10 Email: Rahul.Darwar@ct.gov                      Email: jthomson@attorneygeneral.gov
   Counsel for Plaintiff State of Connecticut      Counsel for Plaintiff Commonwealth of
11                                                 Pennsylvania
   s/ Alexandra C. Sosnowski
12 Alexandra C. Sosnowski (admitted pro hac        s/ Michael A. Undorf
   vice)                                           Michael A. Undorf (admitted pro hac vice)
13 Assistant Attorney General                      Deputy Attorney General
   Consumer Protection and Antitrust Bureau        Delaware Department of Justice
14 New Hampshire Department of Justice             820 N. French St., 5th Floor
   Office of the Attorney General                  Wilmington, DE 19801
15 One Granite Place South                         Telephone: (302) 683-8816
   Concord, NH 03301                               Email: michael.undorf@delaware.gov
16 Telephone: (603) 271-2678                       Counsel for Plaintiff State of Delaware
   Email: Alexandra.c.sosnowski@doj.nh.gov
17 Counsel for Plaintiff State of New Hampshire    s/ Christina M. Moylan
                                                   Christina M. Moylan (admitted pro hac vice)
18 s/ Robert J. Carlson                            Assistant Attorney General
   Robert J. Carlson (admitted pro hac vice)       Chief, Consumer Protection Division
19 Assistant Attorney General                      Office of the Maine Attorney General
   Consumer Protection Unit                        6 State House Station
20 Office of the Oklahoma Attorney General         Augusta, ME 04333-0006
   15 West 6th Street, Suite 1000                  Telephone: (207) 626-8800
21 Tulsa, OK 74119                                 Email: christina.moylan@maine.gov
   Telephone: (918) 581-2885                       Counsel for Plaintiff State of Maine
22 Email: robert.carlson@oag.ok.gov
   Counsel for Plaintiff State of Oklahoma
23

24
     PLAINTIFFS’ MOTION TO COMPEL                               FEDERAL TRADE COMMISSION
     PRODUCTION OF DOCUMENTS- 16                                    600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                     Washington, DC 20580
                                                                                  (202) 326-2222
          Case 2:23-cv-01495-JHC        Document 333      Filed 11/05/24     Page 21 of 24




 1 s/ Gary Honick                                   s/ Lucas J. Tucker
   Gary Honick (admitted pro hac vice)              Lucas J. Tucker (admitted pro hac vice)
 2 Assistant Attorney General                       Senior Deputy Attorney General
   Deputy Chief, Antitrust Division                 Office of the Nevada Attorney General
 3 Office of the Maryland Attorney General          100 N. Carson St.
   200 St. Paul Place                               Carson City, NV 89701
 4 Baltimore, MD 21202                              Telephone: (775) 684-1100
   Telephone: (410) 576-6474                        Email: LTucker@ag.nv.gov
 5 Email: Ghonick@oag.state.md.us                   Counsel for Plaintiff State of Nevada
   Counsel for Plaintiff State of Maryland
 6                                                  s/ Andrew Esoldi
   s/ Katherine W. Krems                            Andrew Esoldi (admitted pro hac vice)
 7 Katherine W. Krems (admitted pro hac vice)       Deputy Attorney General
   Assistant Attorney General, Antitrust Division   New Jersey Office of the Attorney General
 8 Office of the Massachusetts Attorney General     124 Halsey Street, 5th Floor
   One Ashburton Place, 18th Floor                  Newark, NJ 07101
 9 Boston, MA 02108                                 Telephone: (973) 648-7819
   Telephone: (617) 963-2189                        Email: andrew.esoldi@law.njoag.gov
10 Email: katherine.krems@mass.gov                  Counsel for Plaintiff State of New Jersey
   Counsel for Plaintiff Commonwealth of
11 Massachusetts                                    s/ Jeffrey Herrera
                                                    Jeffrey Herrera (admitted pro hac vice)
12 s/ Scott A. Mertens                              Assistant Attorney General
   Scott A. Mertens (admitted pro hac vice)         New Mexico Office of the Attorney General
13 Assistant Attorney General                       408 Galisteo St.
   Michigan Department of Attorney General          Santa Fe, NM 87501
14 525 West Ottawa Street                           Telephone: (505) 490-4878
   Lansing, MI 48933                                Email: jherrera@nmag.gov
15 Telephone: (517) 335-7622                        Counsel for Plaintiff State of New Mexico
   Email: MertensS@michigan.gov
16 Counsel for Plaintiff State of Michigan          s/ Zulma Carrasquillo-Almena
                                                    Zulma Carrasquillo (admitted pro hac vice)
17 s/ Zach Biesanz                                  Assistant Attorney General
   Zach Biesanz (admitted pro hac vice)             Antitrust Division
18 Senior Enforcement Counsel                       Puerto Rico Department of Justice
   Office of the Minnesota Attorney General         P.O. Box 9020192
19 445 Minnesota Street, Suite 1400                 San Juan, Puerto Rico 00901-0192
   Saint Paul, MN 55101                             Telephone: (787) 721-2900
20 Telephone: (651) 757-1257                        Email: zcarrasquillo@justicia.pr.gov
   Email: zach.biesanz@ag.state.mn.us               Counsel for Plaintiff Commonwealth of Puerto
21 Counsel for Plaintiff State of Minnesota         Rico

22

23

24
     PLAINTIFFS’ MOTION TO COMPEL                                FEDERAL TRADE COMMISSION
     PRODUCTION OF DOCUMENTS- 17                                     600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                      Washington, DC 20580
                                                                                   (202) 326-2222
         Case 2:23-cv-01495-JHC       Document 333   Filed 11/05/24    Page 22 of 24




 1 s/ Stephen N. Provazza
   Stephen N. Provazza (admitted pro hac vice)
 2 Special Assistant Attorney General
   Chief, Consumer and Economic Justice Unit
 3 Department of the Attorney General
   150 South Main Street
 4 Providence, RI 02903
   Telephone: (401) 274-4400
 5 Email: sprovazza@riag.ri.gov
   Counsel for Plaintiff State of Rhode Island
 6
   s/ Sarah L. J. Aceves
 7 Sarah L. J. Aceves (admitted pro hac vice)
   Assistant Attorney General
 8 Vermont Attorney General’s Office
   109 State Street
 9 Montpelier, VT 05609
   Telephone: (802) 828-3170
10 Email: sarah.aceves@vermont.gov
   Counsel for Plaintiff State of Vermont
11
   s/ Laura E. McFarlane
12 Laura E. McFarlane (admitted pro hac vice)
   Assistant Attorney General
13 Wisconsin Department of Justice
   Post Office Box 7857
14 Madison, WI 53707-7857
   Telephone: (608) 261-5810
15 Email: cooleygj@doj.state.wi.us
   Counsel for Plaintiff State of Wisconsin
16

17

18

19

20

21

22

23

24
     PLAINTIFFS’ MOTION TO COMPEL                          FEDERAL TRADE COMMISSION
     PRODUCTION OF DOCUMENTS- 18                               600 Pennsylvania Avenue, NW
     No. 2:23-cv-01495                                                Washington, DC 20580
                                                                             (202) 326-2222
Case 2:23-cv-01495-JHC   Document 333   Filed 11/05/24   Page 23 of 24
Case 2:23-cv-01495-JHC   Document 333   Filed 11/05/24   Page 24 of 24
